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                                                      November 12, 2024

     Via ECF

     Honorable Renée Marie Bumb
     United States District Court
      for the District of New Jersey
     U.S. Courthouse, 4th & Cooper Streets
     Camden, NJ 0810

                Re:        In re Valsartan, Losartan, & Irbesartan Products Liability Litigation,
                           No. 1:19-md-02875 (D.N.J.)

     Dear Chief Judge Bumb:

                Plaintiffs respectfully submit this letter in response to Defendants’ October

     29, 2024 letter (ECF 2916). Plaintiffs also attach herewith as Exhibit A the Third

     Circuit’s precedential decision issued last week in Huertas v. Bayer US LLC, No.

     23-2178 (3d Cir. Nov. 7, 2024), and discuss the import of same in Part II below.

           I.         Introduction

                Defendants seek a complete redo of this entire litigation for all intents and

     purposes, upending six years’ worth of concentrated work and established law of the
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  case. Defendants unabashedly ask this Court to reconsider nearly all major prior

  rulings in this litigation, including well-reasoned opinions rejecting the motions to

  dismiss, granting class certification, denying decertification, and granting partial

  summary judgment to TPP Plaintiffs, and finding in favor of general causation.

  Those prior rulings were the culmination of years of protracted fact and expert

  discovery, over a hundred depositions taken, scores of briefs and legal opinions

  written spanning thousands of pages, and countless hours spent by the parties and

  three different jurists (Judges Kugler, Schneider, and Vanaskie). To reconsider this

  vast law of the case under which the parties have been laboring for years would be

  enormously inefficient, overwhelmingly prejudicial to Plaintiffs and the countless

  consumer and TPP class members (to whom class notice has been disseminated at a

  cost of nearly a million dollars), and the many personal injury plaintiffs suffering

  with or who have already passed away from cancer.

        Defendants tried this exact gambit before, when the litigation was reassigned

  following Judge Kugler’s retirement. See ECF 2770 (status report in which

  Defendants suggested the very same do-overs they re-raise now). This Court rightly

  observed then that Defendants’ suggestions to start from scratch in this litigation

  “are simply not helpful.” ECF 2771. This assessment was correct. Judicial

  reassignment is not license to request broad reconsideration of prior rulings that
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  Defendants do not like. “[C]ourts should be loathe” to depart from prior decisions.1

  Indeed, “to maintain consistency and avoid judicial reconsideration of matters once

  decided during the course of a single continuing litigation,” 2 the “law of the case

  doctrine directs courts from re-deciding issues that were resolved earlier in the

  litigation.” 3 Courts in this District and others will not re-decide the law of the case

  absent “extraordinary circumstances,”4 such as a change in intervening law or new

  evidence,5 none of which we have here.

        For instance, in a procedurally similar case, In re Sulfuric Acid Litigation, 847

  F. Supp. 2d 1079 (N.D. Ill. 2011), the defendants sought to decertify a class after the

  originally-assigned judge retired. Those defendants argued changed circumstances

  warranted revisiting the predecessor judge’s certification and summary judgment



  1
    Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816 (1988); Fagan v.
  City of Vineland, 22 F.3d 1283, 1290 (3d Cir. 1994) (“a successor judge should not
  lightly overturn decisions of his predecessors in a given case”); Hayman Cash Reg.
  Co. v. Sarokin, 669 F.2d 162, 165 (3d Cir. 1982) (if the law of the case doctrine
  applied, “Judge Sarokin should have deferred to Judge Richey’s [prior] decision”).
  2
    Pub. Interest Res. Grp. of N.J. v. Magnesium Elektron, Inc., 123 F.3d 111, 116 (3d
  Cir. 1997).
  3
     In re Pharmacy Benefit Managers Antitrust Litig., 582 F.3d 432, 439 (3d Cir.
  2009).
  4
    In re Plavix Marketing, Sales, Practices & Prods. Liab. Litig. (No. II), 123 F. Supp.
  3d 584, (D.N.J. 2015) (Wolfson, J.) (refusing to revisit predecessor judge’s rulings
  absent “extraordinary circumstances”).
  5
    In re Celgene Corp., Inc. Sec. Litig., No. 18-cv-4772, 2024 WL 4047674, at *8
  n.19 (D.N.J. Sept. 4, 2024) (Farbiarz, J.)
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  decisions. The successor judge refused to do so, noting that the twin goals of the law

  of the case – judicial economy and unfair prejudice – did not warrant

  reconsideration, especially because the case was so procedurally advanced. Id. at

  1082. Judge Wolfson reached a similar conclusion in the Plavix MDL, in which she

  refused to revisit the prior ruling of a transferee judge on a motion to dismiss issued

  prior the creation of the MDL, which centralized all cases under her. In re Plavix,

  123 F. Supp. 3d at 614; see also, e.g., Jermyn v. Best Buy Stores, 276 F.R.D. 167,

  169 (S.D.N.Y. 2011) (collecting cases) (refusing to revisit earlier class certification

  decision).

           Defendants’ suggestion that this Court revisit the prior rulings at previous

  major inflection points of this litigation (motion to dismiss, class certification,

  summary judgment), in the complete absence of extraordinary circumstances, would

  be the epitome of inefficiency and unfairness. Instead, as discussed below, there are

  much more appropriate, efficient, and just ways to proceed.

     II.      The Third Circuit’s Huertas Decision Adopts the Eleventh Circuit’s
              Approach in Debernardis and Validates Plaintiffs’ Economic
              Worthlessness Theory

           On November 7, 2024, the Third Circuit issued a precedential decision in

  Huertas v. Bayer US LLC, No. 23-2178 (3d Cir. Nov. 7, 2024) (Ex. A hereto). The

  Third Circuit confirmed the validity of economic worthlessness theories of damages
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  for already-consumed, contaminated health products that may have otherwise still

  provided some health benefit (i.e., were not placebos). This decision rebuffs

  Defendants’ attempt to undo years’ worth of work and law of the case in this

  litigation.

         The plaintiffs in Huertas sought to recover the full amounts paid for already-

  consumed antifungal sprays that were recalled in 2021 after Bayer discovered ben-

  zene contamination dating back to lots manufactured as early as 2018; benzene is a

  carcinogen that is not an ingredient of any properly manufactured healthcare prod-

  uct, but was present due to manufacturing defects. Id. at *4-5. Neither the defendant

  nor the plaintiffs knew of the contamination at the time of sale. Id. And there was no

  allegation that the products were not effective, as the Court observed that lack of

  value could be asserted even in the absence of a claim that the defect impacted the

  efficacy of the products. Id. at *14-15.

         The district court dismissed the complaint with prejudice, finding that the

  plaintiffs lacked Article III standing to pursue their worthlessness theory. See Huer-

  tas v. Bayer U.S., LLC, No. 2:21-cv-20021, 2023 WL 3773139 (D.N.J. May 23,

  2023) (Wigenton, J.). The Third Circuit reversed, holding among other things as

  follows:

         One way “a plaintiff might successfully plead an economic injury [is]
         by alleging that she bargained for a product worth a given value but
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       received a product worth less than that value.” J&J, 903 F.3d at 283.
       This is known as the benefit-of-the-bargain theory of injury. Under this
       theory, “[t]he economic injury is calculated as the difference in value
       between what was bargained for and what was received.” Id. Plaintiffs
       here rely on the benefit-of-the-bargain theory to establish injury-
       in-fact, arguing that they paid full purchase price for products
       “free of contaminants and dangerous substances,” App. 255, but
       received products that were defectively manufactured with “harm-
       ful levels of benzene,” causing them to be “adulterated” and there-
       fore “worthless,” App. 254. We conclude that Plaintiffs can rely on
       this theory of economic injury.

       …

       Our conclusion that contaminated products are worth less than uncon-
       taminated products is consistent with decisions from other Courts of
       Appeals. For example, in In re Aqua Dots Products Liab. Litig., several
       parents sued a manufacturer that produced a toy with defective compo-
       nents that, when ingested, metabolized into a chemical substance that
       can cause a variety of side effects and could even lead to death. 654
       F.3d 748, 749 (7th Cir. 2011). The parents’ children were not harmed
       by the toy, but the Seventh Circuit nonetheless concluded that the par-
       ents had standing to sue under a benefit-of-the-bargain theory because
       “they paid more for the toys than they would have, had they known of
       the risks the beads posed to children.” Id. at 751. Similarly, in Deber-
       nardis v. IQ Formulations, LLC, 942 F.3d 1076 (11th Cir. 2019), the
       Eleventh Circuit held that plaintiffs who purchased adulterated di-
       etary supplements under the FDCA “received … defective prod-
       uct[s] that had no value.” Id. at 1085. The Eleventh Circuit ex-
       plained that its “conclusion [was] consistent with the well-estab-
       lished benefit-of-the-bargain theory of contract damages, which
       recognizes that some defects so fundamentally affect the intended
       use of a product as to render it valueless.” Id.

       …
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        Given that contaminated products are unfit for their intended use, they
        are inherently worth less than the uncontaminated products Plaintiffs
        thought they were purchasing.

  Huertas, at *9, *15-16 (Ex. A) (emphasis added).

        Huertas is on all-fours with this litigation in nearly every important factual

  and legal respect. Both cases involve express and implied warranty claims, common

  law fraud claims, and consumer protection law claims asserted for purchases of a

  healthcare product that was contaminated with a carcinogen that should not have

  been present at the time of sale. The products in both cases were consumed or used,

  and there was no claim in Huertas that the product failed to provide efficacy or was

  a placebo. Both products were eventually the subject of recalls based on the later-

  discovered contamination that occurred long after the product was used. Both sets

  of plaintiffs allege the contaminated products (including those consumed long ago)

  were adulterated and therefore economically worthless at the point of sale due to

  the presence of an unbargained-for contaminant that “‘so fundamentally affect[s] the

  intended use of a product as to render it valueless’” regardless of whether the product

  nevertheless afforded some quantum of residual benefit. Huertas, No. 23-2718, at

  *16 (quoting Cottrell v. Alcon, Lab’ys, 874 F.3d 154, 1085 (3d Cir. 2017)); accord

  FTC v. Figgie Int'l, Inc., 994 F.2d 595, 606 (9th Cir. 1993) (consumers entitled to

  “full refund” for heat detectors sold based on false representations, but which still
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  functioned: “To understand why [a full refund is appropriate even when the

  product maintains a modicum of value], we return to the hypothetical of the

  dishonest rhinestone merchant. Customers who purchased rhinestones sold as

  diamonds should have the opportunity to get all of their money back. The

  seller’s misrepresentations tainted the customer’s purchasing decisions.”)

  (emphasis added); Rikos v. Procter & Gamble Co., 799 F.3d 497, 524 (6th Cir. 2015)

  (approving zero value damages model where probiotic nutritional supplement did

  not work as advertised and holding that “whether purchasers were nevertheless

  satisfied with [the product] does not affect the propriety of a full-refund damages

  model”); In re Recalled Abbott Infant Formula Prod. Liab. Litig., 97 F.4th 525, 530

  (7th Cir. 2024) (“A universal defect inherent in a product—such as a design defect

  or a fundamental flaw—renders each product valueless to each plaintiff, as in Aqua

  Dots and similar cases.”).

        Simply put, the Third Circuit has now made clear in no uncertain terms that

  under the factual and legal circumstances extant both in Huertas and this litigation,

  and involving warranty, fraud, and consumer protection law claims asserted relating

  to a carcinogen-contaminated healthcare product previously sold and ingested (with

  perhaps some residual health benefit), economic worthlessness damages are

  available as a matter of law because the defect at issue is fundamental. Huertas, at
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  *16 (citing and adopting Debernardis). Defendants’ suggestion to the contrary (see,

  e.g., ECF 2916 at 4) is inconsistent with existing and now indisputably precedential

  Third Circuit law.

      III.   It Would Be Significantly Prejudicial and Manifestly Unjust to Scuttle
             the Economic Loss Class Cases As Defendants Propose

         Huertas aside, the centerpiece of Defendants’ request to undo years’ worth of

  litigation on the class side of this case is their grasping onto the Court’s apparent

  concern with TPP Class Plaintiffs’ worthlessness theory going to a jury on the record

  as-is without any perceived guidance or guardrails. Apart from Judge Kugler’s well-

  reasoned opinions on motions to dismiss, class certification, and summary judgment,

  Plaintiffs submitted to this Court fulsome briefing on whether Plaintiffs may pursue

  a worthlessness theory under a breach of express warranty claim (the Court has

  confirmed that this issue is not of concern with the consumer protection law and

  common law fraud claims). See ECF 2844 & Appendix thereto, ECF 2869 &

  Appendix thereto. 6 The case law unambiguously supports that Plaintiffs may pursue

  full value (i.e., 100% of the purchase price paid) under a breach of warranty claim

  (and can recover the full amounts paid pursuant to Plaintiffs’ other theories,

  including fraud and violation of consumer protection statutes). This is especially so


  6
    Interestingly, in that round of briefing, Defendants even contradicted their own
  prior authority. See ECF 2869 at 3-4 (cataloguing same).
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  when a “fundamental defect” or a failure of the defendant to provide the “essence of

  the bargain” exists, as recognized in the numerous authorities submitted by Plaintiffs

  in the prior briefing, as well as in the Third Circuit’s Huertas decision. And

  importantly, while a finding of adulteration is legally dispositive as to economic

  worthlessness, 7 Huertas held that this is not the only way for a jury to arrive at such

  a conclusion:

        We recognize, as Bayer points out, that Debernardis is distinguishable
        to the extent that it concluded that adulterated supplements were
        worthless based on the FDCA’s explicit prohibition on “the sale of
        adulterated dietary supplements,” which was in turn based on
        Congress’s judgment that “such substances could not safely be
        ingested.” 942 F.3d at 1085. Bayer, however, cites no authority
        suggesting that a legal prohibition is the sole basis upon which our
        conclusion here can be reached. Indeed, whether through a legal
        prohibition or a product recall, the end result is the same: if their
        products are contaminated, they are unusable. Although Bayer’s recall
        notice explained “the levels detected are not expected to cause adverse
        health consequences,” App. 136, the economic injury addressed here is
        not for costs associated with adverse health consequences.

  Ex. A at *16 n.14.


  7
    Aside from being economically worthless as a matter of law under Huertas, Dr.
  Conti’s numerous expert opinions in this litigation provide the economic
  underpinning for such a conclusion, consistent with economic literature. See, e.g.,
  P.M. Danzon and E.L. Keuffel, “Regulation of the Pharmaceutical-Biotechnology
  Industry,” Economic Regulation and Its Reform: What Have We Learned?, ed. N.L.
  Rose, University of Chicago Press: Chicago, IL, 2005, pp. 407-84 (noting patients
  and third-party payors cannot test or evaluate for themselves safety and quality of
  prescription drugs, and therefore must rely on FDCA-imposed obligations on
  manufacturers to sell appropriate products).
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        However characterized, this is the situation here. Defendants’ valsartan-

  containing drugs (“VCDs”) indisputably contained high levels of extremely potent

  human carcinogens NDMA and/or NDEA that admittedly 8 made them “unfit for

  their intended use[,]” Huertas, at *16. The products were deemed “adulterated” by

  the FDA and therefore “were worthless based on the FDCA’s explicit prohibition”

  of their sale (21 U.S.C. § 331) as a matter of law “based on Congress’s judgment[,]”

  Huertas, at *16 & n.14, and separately, which a reasonable jury could quite

  obviously determine to be a fundamental defect that goes to the very essence of the

  expected-but-unfulfilled bargain (namely, an FDA-approved generic version of

  valsartan that met all the criteria – safety, quality, purity, identity, strength, cGMP

  compliance – so as to be able to be sold lawfully in this country). 9 This is particularly




  8
    For instance, ZHP, Teva, and Torrent recalled all of their VCDS within expiry, and
  ZHP issued a recall statement acknowledging that its VCDs and those made with its
  API amounted to an “unacceptable carcinogenic risk.”
  9
    Notably, Plaintiffs’ prior briefing to the Court (ECF 2844, ECF 2869) contains
  many authorities supporting Plaintiffs being allowed to pursue a worthless damages
  theory even if Defendants’ VCDs provided some residual clinical benefit (e.g., they
  were ‘effective’ at controlling blood pressure). Huertas is yet another instance of
  such an authority. Defendants, by contrast, cite no on point cases in support of their
  position that residual benefits for a fundamentally defective and/or legally-
  prohibited-from-sale product legally forecloses a full reimbursement damages
  model. Huertas forcefully rejected this argument. See generally ECF 2844 &
  Appendix thereto, ECF 2869 & Appendix thereto.
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  so when at all times there were uncontaminated, safe and effective valsartan products

  available to consumers (and myriad other medicines and treatments).

        This is not an eleventh-hour theory. Plaintiffs have been litigating this case in

  accordance with the law of this case, which judicially recognized the viability of this

  theory, for years. Judge Kugler held in no uncertain terms that Plaintiffs may pursue

  a worthlessness theory based on the VCDs’ adulteration and fundamentally defective

  nature of the pills due to the contamination even if Defendants’ VCDs might have

  had some residual value, such as controlling blood pressure:

        This Court finds that contaminated drugs are economically worthless
        at the point of sale by virtue of the dangerousness caused by their
        contamination, regardless whether the sold VCDs actually achieved
        the medical purpose of lowering blood pressure. Put differently,
        contaminated drugs, even if medically efficacious for their purpose,
        cannot create a benefit of the bargain because the contaminants, and
        their dangerous effects, were never bargained for.

  ECF 775 at 20 (emphasis added). The parties have labored under, and Plaintiffs have

  relied on, this holding by Judge Kugler for years. See also, e.g., ECF 728 at 13

  (“Under this theory, Plaintiffs seek reimbursement for the full amount paid for the

  VCDs, that is, their out‐of‐pocket expenditures. This is not some amorphous

  allegation of an economic loss lacking a concrete way of calculating it. This

  allegation suffices for a factfinder to value Plaintiffs’ purported economic injury.”).
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        Huertas resolves that Plaintiffs are permitted to argue Defendants’ VCDs are

  economically worthless. Huertas, at *15-16 & n.14. In the event the jury somehow

  finds the Defendants’ VCDs contaminated with NDMA and/or NDEA (which is

  undisputed) but not adulterated, then the jury may still find Defendants’ VCDs to

  have been worthless (i.e., zero value) because of the fundamental nature of the

  defect. Huertas, at *16 & n.14 (“Indeed, whether through a legal prohibition or a

  product recall, the end result is the same: if their products are contaminated, they are

  unusable.”); see also id. (“Given that contaminated products are unfit for their

  intended use, they are inherently worth less than the uncontaminated products

  Plaintiffs thought they were purchasing.”).

        For years after the motion to dismiss rulings, the Court repeatedly reaffirmed

  Plaintiffs’ economic worthlessness theory. Also, the economics and healthcare

  policy expertise that grounded Dr. Conti’s economic worthlessness opinion and

  economics and health policy methodology that is grounded in her expert discipline

  of healthcare economics, and Plaintiffs’ ability to put both in front of a jury to

  support a worthlessness theory “even if [VCDs were] medically efficacious for their
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  purpose” id., again, 10 and again, 11 and again, 12 including up through when the TPP

  trial was supposed to commence the first time in March 2024. This is the law of the

  case:

          “Ds have repeatedly sought the Court to repudiate Ps worthlessness
          theory: at the motion to dismiss stage, at the class certification stage,
          and recently in a motion to decertify the certified classes... Regardless
          of what this argument is called...these theories hinge on different
          legal perspectives and on genuinely disputed, material facts for the
          trial fact-finder. Pursuant to Rule 56(a), the parties’ arguments dispute
          a material fact about the amount of damages—from none to the full
          amount TPPs reimbursed for the insureds’ scripts.”

  ECF 2694 at 57 (emphasis added); see also id. at 20 & n.17 (“[T]he Court has

  expressly stated Ps worthlessness theory raises a genuine issue of material fact and




  10
     ECF 728 at 11 (“Plaintiffs’ alleged economic injury is that they did not receive the
  benefit of their bargain when they purchased Defendants’ VCDs because they were
  contrary to Defendants’ warranties and representations—that is, the VCDs were
  adulterated, misbranded, non cGMP compliant, unlawful to sell, and therefore
  essentially worthless”).
  11
     ECF 2261 at 88 (“The Court has considered carefully all of the parties’ arguments
  and concludes that Dr. Conti has set forth a general calculus, i.e. mathematical
  model, which, although possibly flawed because the data are not available or
  forthcoming, may reliably support her presumption of the worthlessness of the sold
  VCDs.”) (emphasis added).
  12
     ECF 2657 at 7 (“The Comcast situation is exactly what the parties do NOT have
  here. Plaintiffs here have ONE model of damages that depends on Conti’s
  worthlessness theory.”); see also ECF 2469 at 13 (Special Master stating: “Plaintiffs
  point out that the Court has already determined that the VCDs contaminated with
  carcinogenic substances are economically worthless, ‘regardless whether the sold
  VCDs actually achieved the medical purpose of lowering blood pressure.’”).
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  leaves that for the fact-finder.”). In sum, the law of this case has repeatedly

  reaffirmed the validity of Plaintiffs’ worthlessness theory as a matter of law, and

  found sufficient Plaintiffs’ evidence supporting it, both fact and expert. Tyson Foods,

  Inc. v. Bouaphakeo, 577 U.S. 442, 459, (2016) (“Once a district court finds evidence

  to be admissible, its persuasiveness is, in general, a matter for the jury.”).

        Moreover, Plaintiffs’ theory aside, the Court already has indicated it likely

  will allow Dr. Conti to presume Defendants’ VCDs were worthless and to testify on

  the estimated damages for the subclass. This is most consistent with Huertas, where

  the Third Circuit adopted Debernardis and found that if the jury determines that

  Defendants’ products are adulterated, that legal prohibition renders the products

  economically worthless as a matter of law. Huertas, at *15-16 & n.14. In such case,

  the Court should instruct the jury to simply compute the full value damages based

  on the evidence regarding computation of damages. So even if this Court finds that

  Dr. Conti should not be allowed to testify that in her own opinion the VCDs are

  worthless, she may properly rely on the assumption that the VCDs were adulterated

  and legally prohibited from sale or contained a fundamental defect (and therefore,

  worthless) as she did in her expert reports (see, e.g., ¶ 5 of Dr. Conti’s original report

  and primary TPP subclass trial merits report).
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        In the event the jury finds Defendants VCDs to have been adulterated for some

  or all of class period, and therefore subject to a legal prohibition on their sale,

  Defendants are legally foreclosed from asserting value per Huertas. However,

  adulteration aside, if the case proceeds on a fundamental defect-based theory, and

  Defendants are permitted (as the Court has indicated they will be) to argue to a jury

  that their contaminated VCDs had “some” value, such that a jury should not award

  100% of the purchase price paid, the Court may determine that this will be permitted,

  and the jury may accept or reject Defendants’ proposition. 13 Plaintiffs’ arguing

  worthlessness to the jury, while also acknowledging Defendants’ mitigation/offset

  defense under certain circumstances is something the jury may consider to reduce

  damages below 100%. This is not the same as Plaintiffs’ affirmatively arguing

  themselves a worth-some-amount-less theory.14 In either case, the jury should be


  13
     What Defendants really want to do is prevent Plaintiffs from ever stating to the
  jury at trial that the latter may award less than 100% of the price paid for VCDs.
  Defendants’ gambit fails. Plaintiffs will argue to the jury that the VCDs were
  worthless. Defendants, in turn, will argue their mitigation/offset defense that
  damages should not be 100% because class members received some value (that was
  not entirely outweighed by a fundamental defect). A jury can credit Plaintiffs’
  worthlessness theory while also crediting in part Defendants’ mitigation/offset
  defense, to arrive at a less than 100% damages award. Juries do this all the time.
  14
     And again, Plaintiffs did not need to develop that affirmative theory themselves
  because the years-long law of this case repeatedly reaffirmed that Plaintiffs may
  present a worthlessness theory to a jury even if the VCDs might have had some
  quantum of residual value, and a jury can award damages between 0% and 100% of
  the amounts paid. Judge Kugler’s dicta at the motion to dismiss stage about whether
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  permitted to decide the factual question of the economic damages suffered by

  Plaintiffs. The law of the case indeed found as much. Judge Kugler repeatedly found

  Plaintiffs’ worthlessness theory fit as a matter of law to go to the jury regardless of

  evidence of medical efficacy (e.g., ECF 775 at 20), and yet left the decision as to

  value to the factfinder, more or less explicitly recognizing the mitigation/offset

  nature of Defendants’ argument. Regardless, the law of this case for years – up until

  last month, just two weeks before the TPP Subclass Trial was set to begin a second

  time – was whether damages are 100% of the prices paid, or some lesser amount, is

  for a jury to decide, not a court. This was the entire point, years ago, for the selection




  Plaintiffs had standing based on a “worth less” theory is a non-sequitur because
  standing is not a fact-based determination, and once a party has standing they may
  remain in court (as was the case here), regardless of what legal theory of damages
  they pursue, which is a different question. Regardless, Defendants are wrong that
  damages are an all or nothing proposition for the jury, and that amending the
  complaints would somehow wreak havoc on this litigation they themselves seek to
  completely upend; it would merely conform the pleadings to the evidence. Indeed,
  Defendants already developed their theory during discovery that their nitrosamine-
  laced pills had some value. They can present that argument to the jury per the Court’s
  findings, and the jury will decide.
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  of a TPP subclass trial in the first place, 15 which Plaintiffs relied on in undertaking

  years of preparation and expense.16

        A word on Zantac. At the October 22, 2024 Conference, the Court posited

  whether Judge Rosenberg’s Zantac decision might be instructive here. It is not. For

  one, the Eleventh Circuit has already reversed Judge Rosenberg once on whether

  TPPs have standing to assert claims for overpaying for allegedly worthless drugs.

  See In re Zantac (Ranitidine) Prods. Liab. Litig., No. 21-10335, 2022 WL 16729170,

  at *1 (11th Cir. Nov. 7, 2022). And Huertas adopted the Eleventh Circuit’s reasoning

  in Debernardis, which in turn was the guiding authority for the later Eleventh Circuit

  Zantac opinion. The remainder of that litigation remains on appeal (including the




  15
     See July 28, 2022 CMC Tr. at 23 (“But I still think the question we need to have
  answered or seem to need to have answered is whether or not this stuff was
  contaminated and whether it was worth anything, you know, to the purchasers or
  anyone else who paid for it. And I think the easiest way, the fastest way to get there
  is a TPP single plaintiff case, to be honest with you. I continue to believe that.”).
  The Court’s focus for both sides has been on determining the worth or value if any
  of the VCDs rather than the terminology used to describe it.
  16
     Indeed, at first, Plaintiffs prepared for an individual TPP trial at Judge Kugler’s
  direction. After certification, Plaintiffs were directed by Judge Kugler to prepare for
  a TPP subclass trial. While the focus always remained on TPP claims, the shift from
  an individual to a class trial meant Plaintiffs undertook the time and expense of
  tendering four separate damages reports by Dr. Conti. She was deposed after each
  over a total of five days. And her opinions – the exact same opinions she was to
  proffer at the adjourned October TPP subclass trial – were explicitly found to be
  reliable and admissible at the class certification stage. See ECF 2261 at 88.
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  premature dismissal of the class claims based on procedurally improper inferences

  as to the merits).

        Factually, Zantac is distinguishable from this litigation for myriad reasons.

  Most notably, nitrosamines in Zantac and ranitidine were the alleged result of

  degradation of the API molecule itself, not a manufacturing process-created

  contamination as here and in Huertas. The significance of this is two-fold:

  (1) whether nitrosamines were present in a particular Zantac or ranitidine product

  might vary based on degradation conditions including time and temperature of

  storage and delivery, whereas here, it is undisputed that every single VCD coming

  off the production line contained quantified nitrosamines – based on Defendants’

  own testing, root cause analyses, and statements to the FDA and the public; and (2)

  the nitrosamines in Zantac are inherent with the approved active pharmaceutical

  ingredient (i.e., ranitidine was approved and the degradation risk is inseparable from

  the API), which is not true with the unapproved NDMA and NDEA in VCDs that

  resulted from a modified manufacturing process that differed from the process

  approved by the FDA for the brand product (indeed, at all material times there were

  non-contaminated VCDs on the market that did not contain any NDMA or NDEA).

        Judge Rosenberg’s dicta about “worthless” and “worth less” are immaterial

  to this litigation and implicitly rejected by the Third Circuit. Worthlessness is, by
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  definition, an amount “worth less” than the amounts paid for Defendants’ VCDs, as

  Huertas explicitly recognized. See also, e.g., Debernardis v. IQ Formulations, LLC,

  942 F.3d 1076, 1085 (11th Cir. 2019) (“This conclusion is consistent with the well-

  established benefit-of-the-bargain theory of contract damages, which recognizes that

  some defects so fundamentally affect the intended use of a product as to render it

  valueless.”); accord In re Zantac, 2022 WL 16729170, at *1 (in reversing Judge

  Rosenberg, citing Debernardis approvingly on this point).17 Moreover, as discussed

  above, the law of the case on which Plaintiffs explicitly relied for years endorsed

  worthlessness as a viable damages theory even assuming the pills controlled blood

  pressure, and that Dr. Conti’s opinions as to same “reliably support her presumption

  of the worthlessness of the sold VCDs.” ECF 2261 at 88. 18


  17
     As these terms are used in common parlance, “worthless” typically signifies little
  to no value of something in and of itself, where as “worth less” is typically used to
  compare the value of one thing to another. The contaminated VCDs could rightly be
  considered worthless and ‘worth less’ than the uncontaminated VCDs that were on
  the market at the same time and as indicated, the Huertas and Debernardis courts
  readily reconcile the use of the terms ‘worthless’, ‘worth less’ and ‘valueless’ in the
  context of a benefit-of-the-bargain inquiry with each being an allowed descriptor to
  argue the value of the economic injury.
  18
     Nevertheless, whether Dr. Conti herself is of the opinion that the VCDs are
  worthless under the principles of economics and health policy, for the purposes of
  her report, she assumes liability for the sale of an adulterated product based on
  counsels’ legally supported instruction and her damages calculations based on the
  IQVIA data and data produced by Defendants can be presented to the jury based on
  that assumption.
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        On multiple occasions, Defendants’ letter also mischaracterizes Dr. Conti as

  providing a “retroactive” or hypothetical world opinion of worthlessness. This is not

  what she does. Her repeatedly stated opinion, as recognized and held in the law of

  this case, is that the VCDs at the time and point of actual sale were economically

  worthless because the pills sold at that time were adulterated, not made in

  accordance with cGMP, and contained contaminating nitrosamines, and therefore

  the value at that time was zero. See ECF 2694 at 32 (summary judgment opinion

  stating that whether the drugs were adulterated at the time of sale is “the central fact

  in dispute in this matter” and leaving that determination for the jury as the fact-

  finder) (emphasis added). To the extent this Court questioned whether Plaintiffs’

  theory and Dr. Conti’s opinions here were different than those of the plaintiffs and

  Dr. Conti herself in the BCBS case, they were not. There, the plaintiffs also sought

  full purchase prices paid for seventeen different drugs sold between 2002 and 2005;

  the FDA did not declare all of the seventeen different drugs adulterated until 2005.

  BCBS v. GlaxoSmithKline LLC, 417 F. Supp. 3d 531, 538, 543-44, 554 (E.D. Pa.

  2019). In other words, just like the plaintiffs in BCBS, Plaintiffs here are not arguing

  “retroactive” adulteration based on a post-sale FDA determination; rather, as in

  BCBS, the same deficient conditions that led the FDA to declare the drugs

  adulterated once the salient facts became known for valsartan existed for years
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  earlier at the point of manufacture and sale. And similarly, in Huertas, the FDA

  never formally declared Bayer’s benzene-contaminated antifungal sprays

  adulterated, and yet the Third Circuit expressly permitted the plaintiffs to pursue

  their claims on the theory that the products were in fact adulterated. Huertas, at *9-

  10, *16 & n.14.

     IV.    The Path Forward on the Economic Loss Class Cases

     The landscape is thus: Plaintiffs reasonably relied on years-long, repeatedly

  reaffirmed law of this case (including on the eve of the first-scheduled trial in March

  2024) that their theory and expert evidence of worthlessness may be presented to a

  jury. A few weeks before the second-scheduled TPP subclass trial, based on the

  status of the litigation, this Court did not yet have a comfort level with the idea that

  a jury might be put in a position to award Plaintiffs the full purchase price for VCDs,

  when the drugs were purchased years ago and when the drugs were not a placebo

  (i.e., did nothing, had no efficacy or benefit whatsoever, and would restrict

  worthlessness damages to the factually implausible situation of a pharmaceutical

  manufacturer circulating a placebo under the name of an FDA-approved drug). The

  Third Circuit recently affirmed in Huertas the correctness of nearly all of Judge

  Kugler’s prior decisions constituting the law of the case, most prominently the
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  viability of the worthlessness theory under the circumstances here. 19

        The logical and efficient path forward for the certified economic loss classes

  is clear: the Court should allow Plaintiffs to supplement the TPP subclass expert

  record, and to set a schedule for merits expert discovery for a Consumer Subclass

  Case against ZHP, Teva, and Torrent, for whom Plaintiffs have now twice expended

  substantial time and financial resources working up the liability case for trial.

        Plaintiffs’ submission of expert report(s) for the consumer economic loss case

  focusing on a market assessment and consumer willingness to pay would be further

  evidence of damages on which a jury may agree with Plaintiffs that the VCDs were

  worthless, even if the VCDs controlled blood pressure. This would completely allay

  any hesitation as to the damage component of the since-adjourned TPP subclass trial.

  And because merits expert reports were not submitted in the consumer subclass

  cases, this area of expert opinion can be addressed without hesitation; the remaining

  areas of expert opinion would be very similar to those for the bellwether TPP



  19
     One exception is Judge Kugler’s finding that the Plaintiffs had not adequately
  alleged a “worth less” theory. ECF 728 at 13. Huertas makes abundantly clear that
  allegations of contamination are sufficient to establish that a product is worth less.
  Id., at *16 (“Given that contaminated products are unfit for their intended use, they
  are inherently worth less than the uncontaminated products Plaintiffs thought they
  were purchasing.”). Plaintiffs would respectfully request leave of the Court in light
  of this to amend the complaint to more explicitly add a worth less theory, which will
  not prejudice Defendants.
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  subclass trial (e.g., cGMP expert opinions, etc.), so the prior rulings in the latter

  likely could carryover in large part.

         Defendants’ previewed opposition to this proposal (see ECF 2916 at 3-4)

  lacks merit. First, Defendants put the cart before the horse in arguing that a

  consumer/market analysis might show a substantial number of consumers would

  willingly pay some amount less for adulterated, nitrosamine-laced valsartan (even if

  they were legally able to choose it, and they were not), when other non-adulterated

  valsartan and other medications and treatments were on the market at the same time.

  Plaintiffs have not tendered a merits expert report(s) or consumer survey-type

  analysis yet, so it is entirely premature and improper for Defendants to presuppose

  what those reports or analyses might show. Defendants’ conjecture that any

  reasonable consumer would willingly choose to purchase nitrosamine-contaminated

  VCDs over otherwise identical competing VCDs without the nitrosamines and other

  alternative treatments is exceedingly far-fetched. This is why Defendants’ survey

  expert, Dr. Punam Keller, whose opinion was speculation and not based on any

  actual survey or other reproducible analysis, was stricken at class certification. See

  ECF 2261 at 77-79.

         Second, as noted supra Parts I & III, Plaintiffs understandably proceeded in

  this litigation for years in reliance on the explicit law of this case that repeatedly held
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  their worthlessness theory and evidence, including Dr. Conti’s opinions, can be

  presented to a jury. Certainly, last month, this Court expressed its hesitation with

  Plaintiffs’ doing so.   The issuance of Huertas by the Third Circuit should,

  respectfully, allay the Court’s concerns.     And any lingering concerns can be

  completely addressed with supplemental evidence in the TPP subclass case, and any

  appropriate limiting instruction as warranted, while simultaneously adhering to the

  law of this case (and, again, no supplementation would be required in the consumer

  cases because no merits expert reports have been tendered yet).

        Third, courts often allow supplementation of the expert record in the same or

  very similar circumstances to those here. For example, in Anthem, Inc. v. Express

  Scripts, Inc., 660 F. Supp. 3d 169, 185 (S.D.N.Y. 2023), the court allowed a TPP

  plaintiff to supplement the expert record where that court reached a different

  conclusion of law about the scope of contract damages than it had before, and after

  the parties had already tendered expert reports. Other courts do the same. See, e.g.,

  Rimbert v. Eli Lilly & Co., 647 F.3 1247, 1256 (10th Cir. 2011) (finding abuse of

  discretion where successor judge did not allow submission of new expert reports

  after successor judge revisited predecessor judge’s Daubert rulings); Kewazinga

  Corp. v. Microsoft Corp., No. 18-cv-4500, 2022 WL 4236301, at *5 (S.D.N.Y. Sept.

  14, 2022) (inviting argument on request to file supplemental expert reports); Via
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  Vadis, LLC v. Amazon.com, No. 14-cv-0813, 2022 WL 1667560, at *1 (W.D. Tex.

  May 24, 2022) (allowing expert supplementation).

        Finally, if the Court determines Plaintiffs’ current damages model cannot be

  presented to a jury, despite Huertas, Plaintiffs should be given the opportunity to

  cure this aspect of Dr. Conti’s proffered opinions,20 especially given that such a

  decision would reverse years’ worth of prior rulings as discussed above. And where

  a defendant has created “uncertainty in providing damages,” “‘justice and sound

  public policy alike require’ that the defendant ‘bear the risk of the uncertainty thus

  produced.’” State v. United Parcel Serv., 253 F. Supp. 3d 583, 687 (S.D.N.Y. 2017)

  (quoting Story Parchment Co. v. Paterson Parchment Paper Co., 282 U.S. 555, 565

  (1931)).

        As opposed to this practical approach, consistent with the case law designed

  to avoid prejudice where issues can be addressed in a reasonable manner, Defendants

  press the ill-founded suggestion discussed above that this Court throw out all of the

  prior rulings, and order new extensive briefing on motions to dismiss, class

  certification, and summary judgment. That is simply untenable, manifestly unjust,

  prejudicial, and inconsistent with this Circuit’s case law. See supra Parts I & III.


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    Again, the Court previously indicated it was inclined to allow Dr. Conti to presume
  worthlessness, and in all events to opine on the damages amounts, which calculations
  are not disputed by the defense.
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        In sum, years’ worth of the Parties’ and the judiciary’s resources have been

  invested into bringing all of these economic loss claims to the doorstep of trial, twice.

  The economic loss side of this MDL represents a significant share of the potential

  defense exposure. Since the inception of this MDL more than five years ago, the

  immensely over-arching question has been, and remains: What were these

  unbargained-for contaminated VCDs worth? See, e.g., July 28, 2022 CMC Tr. at 22-

  23 (“But I still think the question we need to have answered or seem to need to have

  answered is whether or not this stuff was contaminated and whether it was worth

  anything, you know, to the purchasers or anyone else who paid for it.”).

        This is why Judge Kugler opted to try an economic loss subclass trial first.21

  Plaintiffs say the contaminated pills were worth nothing; Defendants say they were

  worth exactly what was paid, or some amount in excess of zero. The parties, the

  Court, and Special Master Vanaskie have already expended substantial time and

  expense to ready the economic loss subclass trial against Defendants ZHP, Teva,

  and Torrent. Instead of throwing out all of that prior work and effort and going back

  to square one, as Defendants suggest (in essence, imposing the litigation “redo” this



  21
    At the time, Plaintiffs requested that a consumer subclass trial proceed first. ECF
  392.
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  Court rejected in July), the more prudent course is to allow supplementation of the

  expert record in the TPP subclass trial case against ZHP, Teva, and Torrent, and to

  schedule a consumer subclass trial case against ZHP, Teva, and Torrent on a parallel

  track to the personal injury bellwether cases now being worked up for trial.

          One final point related to Huertas. There, the Third Circuit found that

  evidence of whether anyone actually got cancer from their use of Bayer’s benzene-

  contaminated products is irrelevant in the context of an economic loss trial:

          Although Bayer’s recall notice explained “the levels detected are not
          expected to cause adverse health consequences,” App. 136, the
          economic injury addressed here is not for costs associated with adverse
          health consequences.
  Huertas, at *16 & n.14. In other words, evidence relating to general causation is not

  relevant in the context of these class economic loss claims. It is the risk that matters

  in this context, not actual causation of cancer.

     V.      There is No Basis to Revisit the General Causation Rulings

     The same principles discussed supra counsel against the wholesale reopening of

  the general causation expert discovery phase. The parties already tendered general

  causation expert reports; Rule 702 motions were filed as to all experts; and all of

  those motions were adjudicated in conjunction with hearings or the submission of

  expert declarations consistent with Third Circuit law. See, e.g., Padillas v. Stork-

  Gamco, Inc., 186 F.3d 412, 418 (3d Cir. 1999) (“[a]n in limine hearing will obviously
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  not be required whenever a Daubert objection is raised to a proffer of expert

  evidence. Whether to hold one rests in the sound discretion of the district court.”);

  see also Oddi v. Ford Motor Co., 234 F.3d 136, 154 (3d Cir. 2000) (hearing

  especially not necessary where court “already ha[s] before it the depositions and

  affidavits of the [proposed] experts.”).

           Moreover, the December 2023 amendments to Rule 702 did not change the

  evidentiary standards for expert evidence. See Fed. R. Evid. 702, adv. comm. notes

  (Dec. 2023). Defendants do not cite a single case holding otherwise. Nor do

  Defendants cite any specific finding by Judge Kugler about the general causation

  experts which might not accord with Rule 702 as amended. Absent such specificity,

  Defendants’ nebulous desire to revisit already-decided general causation rulings is

  unwarranted, and will result in unnecessary and prejudicial expense and delay, and

  distraction.

     VI.     There is No Need for a “Science Day”

     Some courts schedule a “science day” early in a litigation for the parties to set

  the landscape of some of the pertinent facts and scientific underpinnings that will be

  developed during discovery. This litigation, however, is six years old; an enormous

  amount of fact discovery already has been completed; and nearly two dozen expert

  reports have been tendered and subject to Rule 702 briefing and rulings. The Court
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  has also presided over Daubert hearings. A science day will divert the parties’ time

  and resources when they should be focusing on preparing for trial.

                                        Respectfully,



                                        Adam M. Slater
                                        Plaintiffs’ Liaison Counsel

  Cc: Counsel of record (via ECF)
